                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JAMES K. RICE,                                          )
                                                        )       Jury Demand
         Plaintiff,                                     )
v.                                                      )       No. 3:15-CV-0398
                                                        )
AUTUMN ASSISTED LIVING                                  )       Judge Campbell
PARTNERS, INC.,                                         )
                                                        )       Magistrate Judge Knowles
         Defendant.                                     )

PLAINTIFF’S MOTION IN LIMINE NO. 1 TO EXCLUDE EVIDENCE OF DISABILITY
         APPLICATIONS OR INCOME FROM COLLATERAL SOURCE

         Pursuant to Rules 401, 402, and 403 of the Federal Rules of Evidence, Plaintiff James

Rice, moves the Court to exclude evidence or testimony regarding:

         (1) Plaintiff’s application for disability benefits from the Metropolitan Government

through Prudential Insurance Company,

         (2) Plaintiff’s receipt of disability benefits through the policy issued by Prudential, and/or

         (3) Plaintiff’s application for Social Security benefits.

         Plaintiff Rice contends any testimony or evidence regarding any of the above facts does

not have “any tendency to make a fact more or less probable than it would be without the

evidence” and none of the testimony “is of consequence in determining the [Title I] action.” The

testimony is irrelevant therefore, inadmissible under Fed. R. Evid. 402.




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       If the Court should find, however, that the evidence is somehow relevant to the

allegations in this case, the Court should exclude it from this trial because the probative value is

substantially outweighed by the danger of unfair prejudice, confusion of the issues, waste of time

or misleading the jury pursuant to Fed. R. Evid. 403.

       Accordingly, Plaintiff respectfully requests the Court grant this Motion in Limine and

exclude any evidence relating to the decision of the Metropolitan Government through the policy

of disability insurance issued by Prudential to award disability benefits, and/or any application

for Social Security disability benefits made by Plaintiff after July 1, 2014.

       Plaintiff Rice submits a memorandum in support of this Motion in Limine.


                                            THE LAW OFFICE OF DAVID L. COOPER, P.C.


                                                     s/ David L. Cooper
                                                    DAVID L. COOPER, BPR #11445

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                                 CERTIFICATE OF SERVICE

      I hereby certify that a true and exact copy of the foregoing Plaintiff’s Motion in Limine
has been delivered by electronic transmission through the CM/ECF system to James K. Simms,
IV, Esq., and Jennifer M. Lankford, Esq., Thompson Burton PLLC, One Franklin Park,
6100 Tower Circle, Suite 200, Franklin, TN 37067, on this 30th day of September, 2016.


                                                      s/ David L. Cooper
                                                      DAVID L. COOPER




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